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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
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     AISHA RAHEEL, on behalf of herself and all :                   Case no. 1:24-cv-7742
     others similarly situated,                 :
                                                :
                            Plaintiffs,         :
                                                :                  CLASS ACTION COMPLAINT
                             v.                 :                            AND
                                                :                   DEMAND FOR JURY TRIAL
     Watches of Switzerland (Nevada), LLC,      :
                                                :
                            Defendant.          :
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                                             INTRODUCTION

1.   Plaintiff, AISHA RAHEEL (hereinafter “Plaintiff” or “RAHEEL”), brings this action on behalf of

     herself and all other persons similarly situated against Watches of Switzerland (Nevada), LLC

     (hereinafter “Watches of Switzerland” or “Defendant”), and states as follows:


2.   Plaintiff is a visually-impaired and legally blind person who requires screen-reading software to

     read website content using her computer. Plaintiff uses the terms “blind” or “visually-impaired” to

     refer to all people with visual impairments who meet the legal definition of blindness in that they

     have a visual acuity with correction of less than or equal to 20 x 200. Some blind people who meet

     this definition have limited vision; others have no vision.


3.   Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the United States

     are visually impaired, including 2.0 million who are blind, and according to the American

     Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired persons live in

     the State of New York.




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4.   Plaintiff brings this civil rights action against Watches of Switzerland for their failure to design,

     construct, maintain, and operate their website to be fully accessible to and independently usable

     by Plaintiff and other blind or visually-impaired persons. Defendant is denying blind and

     visually impaired persons throughout the United States with equal access to services Watches of

     Switzerland        provides        to         their          non-disabled      customers      through

     https://www.watchesofswitzerland.com          (hereinafter     “Watchesofswitzerland.com”   or   “the

     website”). Defendant’s denial of full and equal access to its website, and therefore denial of its

     services offered, and in conjunction with its physical locations, is a violation of Plaintiff’s rights

     under the Americans with Disabilities Act (the “ADA”).


5.   Watchesofswitzerland.com provides to the public a wide array of services, price specials and other

     programs offered by Watches of Switzerland. Watches of Switzerland specializes in offering a

     diverse selection of men's and women's watches in various styles. Yet, Watchesofswitzerland.com

     contains significant access barriers that make it difficult if not impossible for blind and visually-

     impaired customers to use the website. In fact, the access barriers make it impossible for blind and

     visually-impaired users to enjoy and learn about the services at Watchesofswitzerland.com prior to

     entering Defendant’s physical location. Thus, Watches of Switzerland excludes the blind and

     visually-impaired from the full and equal participation in the growing Internet economy that is

     increasingly a fundamental part of the common marketplace and daily living. In the wave of

     technological advances in recent years, assistive computer technology is becoming an increasingly

     prominent part of everyday life, allowing blind and visually-impaired persons to fully and

     independently access a variety of services.


6.   The blind have an even greater need than the sighted to have access to various websites in order to

     compare merchandise, benefits and prices, to get more information about the companies, their



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     locations and hours of operation. The lack of an accessible website deters blind people from visiting

     Defendant’s physical location and enjoying services that it provides to the public.


7.   Despite readily available accessible technology, such as the technology in use at other heavily

     trafficked websites, which makes use of alternative text, accessible forms, descriptive links,

     resizable text and limits the usage of tables and JavaScript, Defendant has chosen to rely on an

     exclusively visual interface. Watches of Switzerland’s sighted customers can independently browse

     and learn more information about the company and its services without the assistance of others.

     However, blind persons must rely on sighted companions to assist them in accessing

     Watchesofswitzerland.com.


8.   By failing to make the website accessible to blind persons, Defendant is violating basic equal access

     requirements under both state and federal law.


9.   Congress provided a clear and national mandate for the elimination of discrimination against

     individuals with disabilities when it enacted the ADA. Such discrimination includes barriers to full

     integration, independent living, and equal opportunity for persons with disabilities, including those

     barriers created by websites and other public accommodations that are inaccessible to blind and

     visually impaired persons. Similarly, New York state law requires places of public accommodation

     to ensure access to goods, services, and facilities by making reasonable accommodations for

     persons with disabilities.


10. Plaintiff browsed and intended to            purchase a watch provided by Defendant on

     Watchesofswitzerland.com. Despite her efforts, however, Plaintiff was denied a shopping

     experience like that of a sighted individual due to the Website’s lack of a variety of features and

     accommodations. Unless Defendant remedies the numerous access barriers on its website, Plaintiff



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    and Class members will continue to be unable to independently navigate, browse and use

    Watchesofswitzerland.com.


11. Because Defendant’s website, Watchesofswitzerland.com, is not equally accessible to blind and

    visually-impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause

    a change in Watches of Switzerland’s policies, practices, and procedures to that Defendant’s

    website will become and remain accessible to blind and visually-impaired consumers. This

    complaint also seeks compensatory damages to compensate Class members for having been

    subjected to unlawful discrimination.


                                     JURISDICTION AND VENUE


12. This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42 U.S.C. §

    12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28

    U.S.C. § 1332. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. § 1367,

    over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec. Law,

    Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

    Administrative Code § 8-101 et seq. (“City Law”).


13. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)(c) and 144(a)

    because Defendant conducts and continues to conduct a substantial and significant amount of

    business in this District, and a substantial portion of the conduct complained of herein occurred in

    this District because Plaintiff attempted to utilize, on a number of occasions, the subject Website

    within this Judicial District.




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14. Defendant is registered to do business in Nevada State and has also been conducting business in

    New York State, including in this District. Defendant purposefully targets and otherwise solicits

    business from New York State residents through its website. Because of this targeting, it is not

    unusual for Watches of Switzerland to conduct business with New York State residents. Defendant

    also has been and is committing the acts alleged herein in this District and has been and is violating

    the rights of consumers in this District and has been and is causing injury to consumers in this

    District. A substantial part of the act and omissions giving rise to Plaintiff’s claims have occurred

    in this District. Most courts support the placement of venue in the district in which Plaintiff tried

    and failed to access the Website. In Access Now, Inc. v. Otter Products, LLC 280 F.Supp.3d 287

    (D. Mass. 2017), Judge Patti B. Saris ruled that “although the website may have been created and

    operated outside of the district, the attempts to access the website in Massachusetts are part of the

    sequence of events underlying the claim. Therefore, venue is proper in [the District of

    Massachusetts].” Otter Prods., 280 F.Supp.3d at 294. This satisfies Due Process because the harm

    – the barred access to the website – occurred here.” Otter Prods., 280 F.Supp.3d at 293.


    Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist. LEXIS

    47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the defendant “availed

    itself of the forum state’s economic activities by targeting the residents of the Commonwealth . . .

    Such targeting evinces a voluntary attempt to appeal to the customer base in the forum.” Sportswear,

    No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus, establishing a customer base

    in a particular district is sufficient cause for venue placement.


                                                  PARTIES


15. Plaintiff, is and has been at all relevant times a resident of Richmond County, State of New York.




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16. Plaintiff is legally blind and a member of a protected class under the ADA, 42 U.S.C. § 12102(l)-

    (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the New York

    State Human Rights Law and the New York City Human Rights Law. Plaintiff, AISHA RAHEEL,

    cannot use a computer without the assistance of screen reader software. Plaintiff has been denied

    the full enjoyment of the facilities and services of Watchesofswitzerland.com as a result of

    accessibility barriers on Watchesofswitzerland.com.

17. Defendant, Watches of Switzerland (Nevada), LLC, is a Nevada Limited Liability Company doing

    business in this State with its principal place of business located at 3340 NW 53rd Street, Suite 402,

    Fort Lauderdale, FL 33309, and its registered agent address located at 701 S Carson Street, Suite

    200, Carson City, NV 89701.

18. Watches of Switzerland provides to the public a website known as Watchesofswitzerland.com

    which provides consumers with access to an array of high-end timepieces from various brands

    which Defendant offers in connection with their physical location. Consumers across the United

    States use Defendant’s website to find the information about the store locations and hours of

    operation, as well as information about the goods and services in its physical locations. Defendant’s

    website is a place of public accommodation within the definition of Title III of the ADA, 42 U.S.C.

    § 12181(7). See Victor Andrews v. Blick Art Materials, LLC, No. 17-cv-767, 2017 WL 3278898

    (E.D.N.Y. August 1, 2017). Plaintiff has been denied the full enjoyment of the facilities, goods and

    services of Watchesofswitzerland.com, as well as deprived of the opportunity to enjoy the facilities,

    goods and services of Defendant’s brick and mortar locations, as a result of accessibility barriers

    on Watchesofswitzerland.com.




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                                          NATURE OF THE CASE


19. The Internet has become a significant source of information, a portal, and a tool for conducting

    business, doing everyday activities such as shopping, learning, banking, researching, as well as

    many other activities for sighted, blind and visually-impaired persons alike.


20. The blind access websites by using keyboards in conjunction with screen-reading software which

    vocalizes visual information on a computer screen. Except for a blind person whose residual vision

    is still sufficient to use magnification, screen access software provides the only method by which a

    blind person can independently access the Internet. Unless websites are designed to allow for use

    in this manner, blind persons are unable to fully access Internet websites and the information,

    products and services contained therein.


21. For screen-reading software to function, the information on a website must be capable of being

    rendered into text. If the website content is not capable of being rendered into text, the blind user is

    unable to access the same content available to sighted users.


22. Blind users of Windows operating system-enabled computers and devices have several screen-

    reading software programs available to them. Job Access With Speech, otherwise known as

    “JAWS”, is currently one of the most popular, and downloaded screen-reading software programs

    available for blind computer users.


23. The international website standards organization, the World Wide Web Consortium, known

    throughout the world as W3C, has published version 2.2 of the Web Content Accessibility

    Guidelines (“WCAG 2.2”). WCAG 2.2 are well-established guidelines for making websites

    accessible to blind and visually-impaired persons. These guidelines are universally followed by




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    most large business entities and government agencies to ensure their websites are accessible. Many

    Courts have also established WCAG 2.2 as the standard guideline for accessibility. The federal

    government has also promulgated website accessibility standards under Section 508 of the

    Rehabilitation Act. These guidelines are readily available via the Internet, so that a business

    designing a website can easily access them. These guidelines recommend several basic components

    for making websites accessible, including but not limited to: adding invisible alt-text to graphics,

    ensuring that all functions can be performed using a keyboard and not just a mouse, ensuring that

    image maps are accessible, and adding headings so that blind persons can easily navigate the site.

    Without these very basic components, a website will be inaccessible to a blind person using a screen

    reader. Websites need to be accessible to the “least sophisticated” user of screen-reading software

    and need to be able to work with all browsers. Websites need to be continually updated and

    maintained to ensure that they remain fully accessible.


                                      FACTUAL ALLEGATIONS


24. Defendant controls and operates Watchesofswitzerland.com in New York State and throughout the

    United States.


25. Watchesofswitzerland.com is a commercial website and online platform that provides wrist

    watches offered by Defendant in connection with its physical locations.


26. Among the features offered by Watchesofswitzerland.com are the following:


          a) Customers may find information about store locations and hours of operation, as well as

             information about the services in its physical locations, and find information about

             available offers and programs;




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          b) Consumers may use the website to connect with Watches of Switzerland (Nevada), LLC

              on various social media platforms, including Instagram, Twitter, Facebook, YouTube,

              Pinterest;

          c) Learning about the company and ability to sell own watches, reading about watches

              related services, amongst other features.

27. This case arises out of Watches of Switzerland’s policy and practice of denying the blind access to

    the services offered by Watchesofswitzerland.com. Due to Watches of Switzerland’s failure and

    refusal to remove access barriers to Watchesofswitzerland.com, blind individuals have been and

    are being denied equal access to Watches of Switzerland, as well as to the numerous goods, services

    and benefits offered to the public through Watchesofswitzerland.com.


28. Watches of Switzerland denies the blind access to goods, services and information made available

    through    Watchesofswitzerland.com        by    preventing     them     from     freely   navigating

    Watchesofswitzerland.com.


29. Watchesofswitzerland.com contains access barriers that prevent free and full use by Plaintiff and

    blind persons using keyboards and screen-reading software. These barriers are pervasive and

    include, but are not limited to: inaccurate landmark structure, inadequate focus order, ambiguous

    link texts, incorrectly formatted lists, the lack of adequate labeling of form fields, inaccurate drop-

    down menus and the requirement that transactions be performed solely with a mouse.


30. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical image on a website.

    Web accessibility requires that alt-text be coded with each picture so that a screen-reader can speak

    the alternative text while sighted users see the picture. Alt-text does not change the visual

    presentation except that it appears as a text pop-up when the mouse moves over the picture. There




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    are many important pictures on Watchesofswitzerland.com that lack a text equivalent. The lack of

    alt-text on these graphics prevents screen readers from accurately vocalizing a description of the

    graphics (screen-readers detect and vocalize alt-text to provide a description of the image to a blind

    computer user). As a result, Plaintiff and blind Watchesofswitzerland.com customers are unable to

    determine what is on the website.


31. Watchesofswitzerland.com also lacks prompting information and accommodations necessary to

    allow blind customers who use screen-readers to locate and accurately fill-out online forms. Due to

    lack of adequate labeling, Plaintiff and blind customers cannot find information about the store, its

    services and location, offered by Defendant in connection with its physical locations.


32. When visiting the Website, Plaintiff, using JAWS, encountered the following specific accessibility

    issues:


              a) Landmark structure was incorrectly defined. Due to repetitive landmark labels, it was

                 difficult for Plaintiff to understand the page section they led to;

              b) Plaintiff was not aware of the search suggestions after the key term was entered into

                 the Search bar. The status update about search suggestions was not provided even

                 though the search suggestions were displayed;

              c) Plaintiff pressed the Search button but the message about the search results was not

                 provided even though the content of the page was updated. Plaintiff was not

                 announced that search results appeared on the screen;

              d) Plaintiff found improperly formatted website category lists. They had visual

                 appearance of lists, but were not correctly programmatically formatted. This caused

                 confusion, as Plaintiff was not informed that links and categories were included in the




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          same page section;

       e) Plaintiff encountered interactive images that were used as links that did not describe

          the content of the link target. There were no details what kind of information can be

          found on the destination page;

       f) The Carousel region from the did not comply with necessary accessibility standards.

          Thus Plaintiff could not control the moving content on the home page;

       g) Plaintiff was forced to repeatedly tab through elements with the same destination: the

          link text of products conveyed similar information and led to the same destinations as

          interactive images above the links;

       h) Interactive elements on the web page had inappropriate and non-descriptive name.

          Plaintiff could not identify the purpose of the interactive element;

       i) The Category page was reloaded after Plaintiff tried to filter items on it and the

          keyboard focus moved to the top of the page. As a result, Plaintiff was confused by

          the change of context;

       j) The Filter buttons with drop-down lists did not announce their state - “collapsed” or

          “expanded”. Plaintiff could not determine in which part of the sub-menu the keyboard

          focus was located or if the links were skipped;

       k) Plaintiff encountered interactive elements that did not announce their state. Legally

          blind customer was not informed whether the element was activated and the desired

          feature was successfully selected;

       l) Non-interactive elements were marked up as keyboard focusable (tabindex=“0” was

          applied), and Plaintiff could not determine the purpose and function of the elements,

          since they were not actually interactive (did not have appropriate “role” attribute);




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             m) The Cart drop-down menu did not allow the repeated content to be collapsed, and it

                 expanded automatically after receiving focus;

             n) The link description and the title of opened web page were not similar. Website should

                 provide continuity between the link "clicked on" and the web page that the user "lands

                 on";

             o) Unclear and ambiguous labels for form fields impeded Plaintiff from correct

                 information input. Plaintiff was unaware of the purpose of the interactive element and

                 could not understand what information was required.


    Consequently, blind customers are essentially prevented from the ability to enjoy and use

    Defendant’s Watchesofswitzerland.com.


33. Watchesofswitzerland.com requires the use of a mouse to complete a transaction. Yet, it is a

    fundamental tenet of web accessibility that for a web page to be accessible to Plaintiff and blind

    people, it must be possible for the user to interact with the page using only the keyboard. Indeed,

    Plaintiff and blind users cannot use a mouse because manipulating the mouse is a visual activity of

    moving the mouse pointer from one visual spot on the page to another. Thus,

    Watchesofswitzerland.com’s inaccessible design, which requires the use of a mouse, denies

    Plaintiff and blind customers the ability to independently navigate Watchesofswitzerland.com.


34. Due to Watchesofswitzerland.com’s inaccessibility, Plaintiff and blind customers cannot find

    information about the location of store, provided services and some additional information about

    the services and goods located in store. By contrast, if Watchesofswitzerland.com was accessible,

    a blind person could independently investigate services, compare features, discounts, promotions

    and prices via the Internet as sighted individuals can and do. According to WCAG 2.2 Guideline 4.




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    1. 2 "Name, Role, Value", all user interface components require a programmatically determinable

    name. The accessible name of interactive elements (buttons, check boxes, radio buttons etc.)

    enables compatibility with assistive technology, such as screen readers, screen magnifiers, and

    speech recognition software, used by people with disabilities. In case the accessible name is not

    provided, some users will not be able to identify the purpose of the form control. Thus, Watches of

    Switzerland has inaccessible design that deprives the Plaintiff and blind customers of the

    opportunity to use and enjoy Watchesofswitzerland.com on their own.


35. Watchesofswitzerland.com thus contains access barriers which deny the full and equal access to

    Plaintiff, who would otherwise use Watchesofswitzerland.com and who would otherwise be able

    to fully and equally enjoy the benefits and services of Watchesofswitzerland.com in New York

    State and throughout the United States.


36. Plaintiff, AISHA RAHEEL, has made an attempt to visit and use Watchesofswitzerland.com. On

    October 26, 2024, Plaintiff was looking for pre-owned branded accessories, since practicing

    sustainable shopping is not only cost-saving, but also gives access to rare, hard-to-find items. Thus,

    looking for a store specializing in pre-owned designer accessories, she discovered the Defendant`s

    website and decided to buy a wristwatch, which she considered a stylish detail that would

    complement her casual and formal garments. As she attempted to filter the watches by brand,

    selecting the Cartier option on the Category page, she encountered several accessibility issues.

    When the page reloaded, the focus unexpectedly moved to the first item on the page, making it

    difficult for her to navigate and select the watches she was interested in. This significant

    accessibility issue prevented her from completing the purchase, and many of the links which were

    also ambiguously and poorly labeled, further complicated her experience. These access barriers

    have caused Watchesofswitzerland.com to be inaccessible to, and not independently usable by blind



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    and visually-impaired persons. Amongst other access barriers experienced, Plaintiff was unable to

    learn more information about store locations and hours of operation, compare prices and benefits

    and learn more information about the goods and services in its physical location.


37. Moreover, Plaintiff will visit the website again immediately upon Defendant correcting the

    numerous accessibility barriers on it. Plaintiff is interested in high-end timepieces from well-known

    luxury brands offered by the company, and would like to visit the Defendant’s store location at 60

    Greene Street New York, New York, 10012 for custom fitting, adjustments, and exclusive or

    limited-edition models that are only available in-store.


38. As described above, Plaintiff has actual knowledge of the fact that Defendant’s website,

    Watchesofswitzerland.com, contains access barriers causing the website to be inaccessible, and not

    independently usable by, blind and visually-impaired persons.


39. These barriers to access have denied Plaintiff full and equal access to, and enjoyment of, the benefits

    and services of Watchesofswitzerland.com.


40. Defendant engaged in acts of intentional discrimination, including but not limited to the following

    policies or practices:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or




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              (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


41. Defendant utilizes standards, criteria or methods of administration that have the effect of

    discriminating or perpetuating the discrimination of others.


42. Because of Defendant’s denial of full and equal access to, and enjoyment of, the goods, benefits

    and services of Watchesofswitzerland.com, Plaintiff and the class have suffered an injury-in-fact

    which is concrete and particularized and actual and is a direct result of Defendant’s conduct.


                                       CLASS ACTION ALLEGATIONS


43. Plaintiff, on behalf of herself and all others similarly situated, seeks certification of the following

    nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure: “all

    legally    blind     individuals   in   the   United     States   who   have   attempted     to   access

    Watchesofswitzerland.com and as a result have been denied access to the enjoyment of goods and

    services offered by Watchesofswitzerland.com, during the relevant statutory period.”


44. Plaintiff seeks certification of the following New York subclass pursuant to Fed.R.Civ.P. 23(a),

    23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New York State who have

    attempted to access Watchesofswitzerland.com and as a result have been denied access to the

    enjoyment of goods and services offered by Watchesofswitzerland.com, during the relevant

    statutory period.”


45. There are hundreds of thousands of visually-impaired persons in New York State. There are

    approximately 8.1 million people in the United States who are visually-impaired. Id. Thus, the




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    persons in the class are so numerous that joinder of all such persons is impractical and the

    disposition of their claims in a class action is a benefit to the parties and to the Court.


46. This case arises out of Defendant’s policy and practice of maintaining an inaccessible website

    denying blind persons access to the goods and services of Watchesofswitzerland.com. Due to

    Defendant’s policy and practice of failing to remove access barriers, blind persons have been and

    are being denied full and equal access to independently browse Watchesofswitzerland.com.


47. There are common questions of law and fact common to the class, including without limitation, the

    following:


             (a) Whether Watchesofswitzerland.com is a “public accommodation” under the ADA;


             (b) Whether Watchesofswitzerland.com is a “place or provider of public accommodation”

                 under the laws of New York;


             (c) Whether Defendant, through its website, Watchesofswitzerland.com, denies the full

                 and equal enjoyment of its goods, services, facilities, privileges, advantages, or

                 accommodations to people with visual disabilities in violation of the ADA; and


             (d) Whether Defendant, through its website, Watchesofswitzerland.com, denies the full

                 and equal enjoyment of its goods, services, facilities, privileges, advantages, or

                 accommodations to people with visual disabilities in violation of the law of New York.


48. The claims of the named Plaintiff are typical of those of the class. The class, similar to the Plaintiff,

    is severely visually-impaired or otherwise blind, and claims Watches of Switzerland has violated

    the ADA, and/or the laws of New York by failing to update or remove access barriers on their




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    website, Watchesofswitzerland.com, so it can be independently accessible to the class of people

    who are legally blind.


49. Plaintiff will fairly and adequately represent and protect the interests of the members of the Class

    because Plaintiff has retained and is represented by counsel competent and experienced in complex

    class action litigation, and because Plaintiff has no interests antagonistic to the members of the

    class. Class certification of the claims is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

    Defendant has acted or refused to act on grounds generally applicable to the Class, making

    appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.


50. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because questions of

    law and fact common to Class members clearly predominate over questions affecting only

    individual class members, and because a class action is superior to other available methods for the

    fair and efficient adjudication of this litigation.


51. Judicial economy will be served by maintenance of this lawsuit as a class action in that it is likely

    to avoid the burden that would be otherwise placed upon the judicial system by the filing of

    numerous similar suits by people with visual disabilities throughout the United States.


52. References to Plaintiff shall be deemed to include the named Plaintiff and each member of the class,

    unless otherwise indicated.


                                        FIRST CAUSE OF ACTION

         (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)


53. Plaintiff, on behalf of herself and the Class Members, repeats and realleges every allegation of the

    preceding paragraphs as if fully set forth herein.




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54. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a) provides that “No

    individual shall be discriminated against on the basis of disability in the full and equal enjoyment

    of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

    accommodation by any person who owns, leases (or leases to), or operates a place of public

    accommodation.” Title III also prohibits an entity from “[u]tilizing standards or criteria or methods

    of administration that have the effect of discriminating on the basis of disability.” 42 U.S.C.

    § 12181(b)(2)(D)(I).


55. Watchesofswitzerland.com is a public accommodation within the definition of 42 U.S.C. §§

    12181(7).


56. Defendant    is   subject   to   Title   III   of   the   ADA    because    it   owns   and    operates

    Watchesofswitzerland.com.


57. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities the opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodations of an

    entity.


58. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities an opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodation, which

    is equal to the opportunities afforded to other individuals.


59. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful discrimination

    includes, among other things, “a failure to make reasonable modifications in policies, practices, or




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    procedures, when such modifications are necessary to afford such goods, services, facilities,

    privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

    demonstrate that making such modifications would fundamentally alter the nature of such goods,

    services, facilities, privileges, advantages or accommodations.”


60. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful discrimination

    also includes, among other things, “a failure to take such steps as may be necessary to ensure that

    no individual with disability is excluded, denied services, segregated or otherwise treated

    differently than other individuals because of the absence of auxiliary aids and services, unless the

    entity can demonstrate that taking such steps would fundamentally alter the nature of the good,

    service, facility, privilege, advantage, or accommodation being offered or would result in an undue

    burden.”


61. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their websites accessible, including but not limited to ensuring adequate

    prompting and accessible alt-text. Incorporating the basic components to make their website

    accessible would neither fundamentally alter the nature of Defendant’s business nor result in an

    undue burden to Defendant.


62. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. § 12101 et seq., and

    the regulations promulgated thereunder. Patrons of Watches of Switzerland who are blind have

    been denied full and equal access to Watchesofswitzerland.com, have not been provided services

    that are provided to other patrons who are not disabled, and/or have been provided services that are

    inferior to the services provided to non-disabled patrons.




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63. Defendant has failed to take any prompt and equitable steps to remedy its discriminatory conduct.

    These violations are ongoing.


64. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Watchesofswitzerland.com in violation of Title III of the Americans with

    Disabilities Act, 42 U.S.C. §§ 12181 et seq. and/or its implementing regulations.


65. Unless the Court enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff

    and members of the proposed class and subclass will continue to suffer irreparable harm.


66. The actions of Defendant were and are in violation of the ADA, and therefore Plaintiff invokes her

    statutory right to injunctive relief to remedy the discrimination.


67. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


68. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and incorporated

    therein, Plaintiff prays for judgment as set forth below.

                                      SECOND CAUSE OF ACTION

                      (Violation of New York State Human Rights Law, N.Y. Exec. Law
                                  Article 15 (Executive Law § 292 et seq.))


69. Plaintiff, on behalf of herself and the Class Members, repeats and realleges every allegation of the

    preceding paragraphs as if fully set forth herein.


70. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice for any person,

    being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any place of




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    public accommodation . . . because of the . . . disability of any person, directly or indirectly, to

    refuse, withhold from or deny to such person any of the accommodations, advantages, facilities or

    privileges thereof.”


71. Watchesofswitzerland.com is a public accommodation within the definition of N.Y. Exec. Law §

    292(9).


72. Defendant is subject to the New York Human Rights Law because it owns and operates

    Watchesofswitzerland.com. Defendant is a person within the meaning of N.Y. Exec. Law. § 292(1).


73. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove access barriers

    to Watchesofswitzerland.com, causing Watchesofswitzerland.com to be completely inaccessible to

    the blind. This inaccessibility denies blind patrons the full and equal access to the facilities, goods

    and services that Defendant makes available to the non-disabled public.


74. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice includes, among other

    things, “a refusal to make reasonable modifications in policies, practices, or procedures, when such

    modifications are necessary to afford facilities, privileges, advantages or accommodations to

    individuals with disabilities, unless such person can demonstrate that making such modifications

    would fundamentally alter the nature of such facilities, privileges, advantages or accommodations.”


75. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory practice also includes,

    “a refusal to take such steps as may be necessary to ensure that no individual with a disability is

    excluded or denied services because of the absence of auxiliary aids and services, unless such

    person can demonstrate that taking such steps would fundamentally alter the nature of the facility,

    privilege, advantage or accommodation being offered or would result in an undue burden.”




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76. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature of

    Defendant’s business nor result in an undue burden to Defendant.


77. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the New York State Human Rights Law, N.Y. Exec. Law § 296(2) in that

    Defendant has:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


78. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.


79. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Watchesofswitzerland.com under N.Y. Exec. Law § 296(2) et seq. and/or its



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    implementing regulations. Unless the Court enjoins Defendant from continuing to engage in these

    unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.


80. The actions of Defendant were and are in violation of the New York State Human Rights Law and

    therefore Plaintiff invokes her right to injunctive relief to remedy the discrimination.


81. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines pursuant to

    N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.


82. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


83. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth and

    incorporated therein, Plaintiff prays for judgment as set forth below.


                                       THIRD CAUSE OF ACTION

                               (Violation of New York State Civil Rights Law,
                              NY CLS Civ R, Article 4 (CLS Civ R § 40 et seq.))


84. Plaintiff, on behalf of herself and the Class Members, repeats and realleges every allegation of the

     preceding paragraphs as if fully set forth herein.


85. Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil Rights Law § 41.


86. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction of this state shall be

    entitled to the full and equal accommodations, advantages, facilities, and privileges of any places

    of public accommodations, resort or amusement, subject only to the conditions and limitations

    established by law and applicable alike to all persons. No persons, being the owner, lessee,

    proprietor, manager, superintendent, agent, or employee of any such place shall directly or




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    indirectly refuse, withhold from, or deny to any person any of the accommodations, advantages,

    facilities and privileges thereof . . .”


87. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . . disability, as such term is

    defined in section two hundred ninety-two of executive law, be subjected to any discrimination in

    her or her civil rights, or to any harassment, as defined in section 240.25 of the penal law, in the

    exercise thereof, by any other person or by any firm, corporation or institution, or by the state or

    any agency or subdivision.”


88. Watchesofswitzerland.com is a public accommodation within the definition of N.Y. Civil Rights

    Law § 40-c(2).


89. Defendant is subject to New York Civil Rights Law because it owns and operates

    Watchesofswitzerland.com. Defendant is a person within the meaning of N.Y. Civil Law § 40-c(2).


90. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or remove access

    barriers to Watchesofswitzerland.com, causing Watchesofswitzerland.com to be completely

    inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

    facilities, goods and services that Defendant makes available to the non-disabled public.


91. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature of

    Defendant’s business nor result in an undue burden to Defendant.




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92. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which shall violate any of the

    provisions of sections forty, forty-a, forty-b or forty two . . . shall for each and every violation

    thereof be liable to a penalty of not less than one hundred dollars nor more than five hundred dollars,

    to be recovered by the person aggrieved thereby . . .”


93. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall violate any of the

    provisions of the foregoing section, or subdivision three of section 240.30 or section 240.31 of the

    penal law, or who shall aid or incite the violation of any of said provisions shall for each and every

    violation thereof be liable to a penalty of not less than one hundred dollars nor more than five

    hundred dollars, to be recovered by the person aggrieved thereby in any court of competent

    jurisdiction in the county in which the defendant shall reside . . .”


94. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.


95. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class on the basis of disability are being directly indirectly refused,

    withheld from, or denied the accommodations, advantages, facilities and privileges thereof in § 40

    et seq. and/or its implementing regulations.


96. Plaintiff is entitled to compensatory damages of five hundred dollars per instance, as well as civil

    penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for each and every offense.




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                                     FOURTH CAUSE OF ACTION
                              (Violation of New York City Human Rights Law,
                                N.Y.C. Administrative Code § 8-102, et seq.)


97. Plaintiff, on behalf of herself and the Class Members, repeats and realleges every allegation of the

     preceding paragraphs as if fully set forth herein.


98. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an unlawful discriminatory

    practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

    employee of any place or provider of public accommodation, because of . . . disability . . . directly

    or indirectly, to refuse, withhold from or deny to such person, any of the accommodations,

    advantages, facilities or privileges thereof.”


99. Watchesofswitzerland.com is a public accommodation within the definition of N.Y.C.

    Administrative Code § 8-102(9).


100. Defendant is subject to City Law because it owns and operates Watchesofswitzerland.com.

    Defendant is a person within the meaning of N.Y.C. Administrative Code § 8-102(1).


101. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to update or remove

    access barriers to Watchesofswitzerland.com, causing Watchesofswitzerland.com to be completely

    inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

    facilities, goods, and services that Defendant makes available to the non-disabled public.

    Specifically, Defendant is required to “make reasonable accommodation to the needs of persons

    with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from discriminating

    on the basis of disability shall make reasonable accommodation to enable a person with a disability




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    to . . . enjoy the right or rights in question provided that the disability is known or should have been

    known by the covered entity.” N.Y.C. Administrative Code § 8107(15)(a).


102. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and § 8-107(15)(a) in that

    Defendant has:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


103. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.


104. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Watchesofswitzerland.com under N.Y.C. Administrative Code § 8-107(4)(a)

    and/or its implementing regulations. Unless the Court enjoins Defendant from continuing to engage

    in these unlawful practices, Plaintiff and members of the class will continue to suffer irreparable

    harm.




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105. The actions of Defendant were and are in violation of City law and therefore Plaintiff invokes her

     right to injunctive relief to remedy the discrimination.


106. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines under N.Y.C.

     Administrative Code § 8-120(8) and § 8-126(a) for each offense.


107. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


108. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the remedies, procedures,

     and rights set forth and incorporated therein, Plaintiff prays for judgment as set forth below.


                                        FIFTH CAUSE OF ACTION

                                              (Declaratory Relief)


109. Plaintiff, on behalf of herself and the Class Members, repeats and realleges every allegation of the

      preceding paragraphs as if fully set forth herein.


110. An actual controversy has arisen and now exists between the parties in that Plaintiff contends, and

     is informed and believes that Defendant denies, that Watchesofswitzerland.com contains access

     barriers denying blind customers the full and equal access to the goods, services and facilities of

     Watchesofswitzerland.com, which Watches of Switzerland owns, operates and/or controls, fails to

     comply with applicable laws including, but not limited to, Title III of the American with Disabilities

     Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Administrative Code

     § 8-107, et seq. prohibiting discrimination against the blind.


111. A judicial declaration is necessary and appropriate at this time in order that each of the parties may

     know their respective rights and duties and act accordingly.




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                                     PRAYER FOR RELIEF


WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and the class and

against the Defendants as follows:


         a) A preliminary and permanent injunction to prohibit Defendant from violating the

            Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

            et seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;


         b) A preliminary and permanent injunction requiring Defendant to take all the steps

            necessary to make its website, Watchesofswitzerland.com, into full compliance with

            the requirements set forth in the ADA, and its implementing regulations, so that

            Watchesofswitzerland.com is readily accessible to and usable by blind individuals;


         c) A declaration that Defendant owns, maintains and/or operates its website,

            Watchesofswitzerland.com, in a manner which discriminates against the blind and

            which fails to provide access for persons with disabilities as required by Americans

            with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and

            N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;


         d) An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2)

            and/or (b)(3), appointing Plaintiff as Class Representative, and her attorneys as Class

            Counsel;


         e) An order directing Defendants to continually update and maintain its website to ensure

            that it remains fully accessible to and usable by the visually-impaired;




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        f) Compensatory damages in an amount to be determined by proof, including all

          applicable statutory damages and fines, to Plaintiff and the proposed class for violations

          of their civil rights under New York State Human Rights Law and City Law;


        g) Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state

          and federal law;


        h) For pre- and post-judgment interest to the extent permitted by law; and


        i) For such other and further relief which this court deems just and proper.




Dated: Brooklyn, NY
       November 6, 2024

                                                ASHER COHEN PLLC
                                                Attorney for Plaintiff

                                                /s/ Asher Cohen

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